Case 7:19-cr-02328 Document1 Filed on 10/24/19 in TXSD =Page 1 of 5

AO 91 (Rev. 08/09) Criminal Complaint

UNITED STATES DISTRICT Court
for the - OCT 24 2019
Southern District of Texas

David J. Bradiey, Cleric

United States of America J
v. ) .
Dominga Ledesma ) Case No. AA- 149- 259/ M
USC )
YOB: 1971 )
Defendant(s)

CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of | May 31, 2017 to August 13, 2018 in the county of Willacy in the
Southern _ District of Texas , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. §1028A Aggravated identity theit.
18 U.S.C. § 1028(a)(7) Unlawful transfer, possession, or use of a means of identification.
31 U.S.C. § 5324(b)(2) Cause or attempt to cause a nonfinancial trade or business to file a report

required under section 5331 that contains a material ommission or
misstatement of fact.

This criminal complaint is based on these facts:

See Attachment “ar

Mf Continued on the attached sheet.
Appoved
“Rolaut Wil, & AVA

10 hy 12014 : Complainant’s signature

Ryan McTaggart Special Agent HS!

Printed name and title

Sworn to before me and signed in my presence. -

pate: Ce bet ZY, 20/7 (X20
‘2 > & Judge 's signature

City and state: McAllen, Texas ’ Peter E. Ormsby, United States Magistrate Judge

Printed name and title

Case 7:19-cr-02328 Document1 Filed on 10/24/19 in TXSD Page 2 of 5

Attachment “A”

In May of 2018, Homeland Security Investigations (HSI) Office of the Assistant Special Agent
in Charge McAllen, Texas, Special Agents (SA), were contacted by state and local law
enforcement agencies regarding the operation of the El Toro Game Room, an illegal gambling
business whose operators had ties to multiple counties in the Southern District of Texas.

The information provided to HSI agents by local law enforcement showed that the El Toro Game
Room operated in the following manner. Customers would travel to the El Toro Game Room
near Lyford, Texas to specifically play the eight liner machines. If a customer “won” a number
of points on the eight liner machines, an employee of the El Toro Game Room would then
provide small pieces of “silver” equaling the amount of the winnings to the customer. The
‘customer would then take the “silver” pieces to Brittany’s Boutique and exchange the silver for
United States currency.

Based upon the information provided to HSI by the Texas Department of Public Safety (DPS)
and the Hidalgo County Sheriff's Office (HCSO), HSI agents initiated an investigation on an
individual who was operating the El Toro Game Room and other illegal gambling businesses in
Hidalgo County, Texas and Willacy County, Texas.

As part of the investigation, SAs conducted multiple surveillances of the El Toro Game Room
and observed the following:

On July 11, 2018, SAs observed individuals exit the El Toro Game Room and then immediately .
traveling a short distance (approximately one hundred sixty meters), from the El Toro Game
Room to Brittany’s Boutique. After exiting Brittany’s Boutique, the individuals were observed

'- departing from the area.

On August 16, 2018, SAs observed numerous individuals exit the El Toro Game Room carrying
bags of “silver” and then traveling a short distance (approximately one hundred sixty meters),
with the “silver” from the El Toro Game Room to Brittany’s Boutique. After exiting Brittany’s
Boutique, the individuals were observed departing from the area.

On September 12, 2018, SAs observed individuals exit the El Toro Game Room and then
immediately traveling a short distance (approximately one hundred sixty meters), from the El
Toro Game Room to Brittany’s Boutique. After exiting Brittany’s Boutique, the individuals
were observed departing from the area. ,

On January 17, 2019, SAs observed individuals exit the El Toro Game Room and then
immediately traveling a short distance (approximately one hundred sixty meters), from the El
Toro Game Room to Brittany’s Boutique. After exiting Brittany’s Boutique, the individuals
were observed departing from the area. .

On July 10, 2018, Person A was interviewed at the Assistant United States Attorney’s (AUSA)
Office in McAllen, Texas. Person A identified the El Toro Game Room as a location where
people could engage in gambling by playing slot machine-like devices, commonly referred to as
“eight liners.”
Case 7:19-cr-02328 Document1 Filed on 10/24/19 in.TXSD Page’3 of 5

Attachment “A?

Person A stated that when a customer won at the El Toro Game Room, the customer received
“silver” from the employees of the El Toro Game Room. The customer. would then travel to
Brittany’s Boutique where the “silver” was exchanged for United States currency. Person A
stated “silver” exchanged for United States currency at Brittany’s Boutique by customers of the
- El Toro Game Room. was then sold back to the employees of the El Toro Game Room by
employees of Brittany’s Boutique.

During the course of the investigation, the owner and operator of Brittany’s Boutique was
identified as Dominga LEDESMA (hereafter referred to as LEDESMA).

During the interview, Person A was. shown a photographic lineup display consisting of six
‘persons with similar appearances and Person A identified a photograph of Louis Fernando
RAMIREZ as a deceased relative of the owner of the El Toro Game Room whose identity had
been utilized by the owner of the El Toro Game Room to conceal the true ownership of the El
Toro Game Room.

SAs received a Verification / Validation from the Office of Inspector General Vital Statistics
Fraud Unit which revealed RAMIREZ died in Harris County Texas on February 11, 2017.

Your affiant knows that Title 31 United States Code Section 5331, states, in part, any person
who is engaged in a trade or business and who, in the course of such trade or business, receives
more than $10,000.00 USD in coins. or currency in one transaction (or two or more related
transactions) is required to file a report with respect to such transaction (or related transactions)
with the Treasury Department. —

These reports are generally filed with FinCen on Form 8300.. A FinCen Form 8300 contains the
name, address, and such other identifiers from the person from whom the coins or currency was
received.

~ SAs obtained and reviewed FinCen Forms 8300s which had been filed by LEDESMA on behalf
of Brittany’s Boutique which revealed the following:

Between May 31, 2017, and October 30, 2018, thirty-seven (37) FinCen Form 8300's, totaling
approximately twenty-one million ($21,000,000.00) USD, for the sale of “silver” pellets to the El
Toro Game Room, were filed by LEDESMA, including the following forms:

FinCen Form 8300 31000128599895, filed on June 28, 2018, for approximately six hundred
‘gixty-nine thousand ($669,000.00) USD, for the sale of silver pellets to El Toro Gaming
Establishment. The form identified Louis Ramirez, identified by his Social Security Number and
address, as the person on whose behalf the transaction was conducted, and identified Person B

and Person C, identified by their Social Security Numbers and their addresses, as the individuals
from whom the cash was received. The form was filed by LEDESMA.

FinCen Form 8300 31000129240053, filed on July 10, 2018, for approximately six hundred
eighty-two thousand ($682,000.00) USD, for the sale of “silver” pellets to El Toro Gaming
Establishment. The form identified Louis Ramirez, identified by his Social Security Number and

oN
Case 7:19-cr-02328 Document1 Filed on 10/24/19 in TXSD Page 4of5

Attachment “A”

address, as the person on whose behalf the transaction was conducted, and identified Person B
and Person C, identified by their Social Security Numbers and addresses, as the individuals from
whom the cash was received. The form was filed by LEDESMA.

FinCen Form 8300 31000131156030, filed on August 13, 2018, for approximately six hundred
. thirty-seven thousand ($637,000.00) USD, for the sale of “silver” pellets to El Toro Gaming
Establishment. The form identified Louis Ramirez, identified by his Social Security Number, as -
the person on whose behalf the transaction was conducted, and identified Person B and Person C,
identified by their Social Security Numbers and addresses, as the individuals from whom the
cash was received. The form was filed by LEDESMA.

On August 22, 2019, SAs interviewed Enrique Ledesma, a certified public accountant, who |
stated he had instructed LEDESMA on the need for a business to file FinCen Form 8300 and
also provided LEDESMA with instructions regarding the strict reporting requirements; including
the need to use accurate identifying information for each of the individuals who LEDESMA
received the United States currency from and to ensure that each FinCen Form 8300 contained
the identifying information (correct name, address, and other identifiers) from the actual
individuals who provided the United States currency.

Enrique Ledesma stated he assisted LEDESMA with the preparation of the FinCen Form 8300’s
and would remind LEDESMA that the FinCen Forms 8300 needed to be accurate, before
‘LEDESMA electronically filed the reports.

On January 29, 2019, Person B was interviewed at the AUSA McAllen Office. Person B stated
Person B was an employee of the El Toro Game Room was who involved in purchasing “silver”
_ from Brittany’s Boutique for the El Toro Game Room.

Person B was shown a photograph of Louis Ramirez and Person B stated Person B had never
met Louis Ramirez.

On October 8, 2019, Person C was interviewed at the Port of Entry in Brownsville, Texas.
Person C stated Person C was previously employed by the El Toro Game Room and during
2017, Person:C purchased “silver” from Brittany’s Boutique approximately six (6) or seven (7)
times. Person C stated Person C never purchased “silver” from Brittany’s Boutique for the El
‘Toro Game Room in 2018. ,

During the interview, Person C was shown a photographic lineup display consisting of six
persons with similar appearances, which included a photograph of Louis Ramirez, and Person Cc
stated Person C did not know anyone in the photographic lineup.

Person C was also shown a photographic lineup display consisting of six persons with similar
appearances, which included a photograph of LEDESMA, and Person C stated Person C did not
know anyone in the photographic lineup.
Case 7:19-cr-02328 Document1 Filed on 10/24/19 in TXSD Page5of5

Attachment “A”

Person C stated Person C never purchased “silver” from Brittany’s Boutique with Person B and
“Person C never authorized anyone else to use Person C’s Social Security Number to file any
FinCen Form 8300s in 2018.

- Person C also stated Person C was never advised that any FinCen Form 8300’s had been filed
using Person C’s information, including Person C’s Social Security Number.

Your affiant knows that it is a violation of Title 18 U.S.C. §1028A to knowingly possess or use
without lawful authority, a means of identification, namely the social security number of another
person, during in relation to a felony violation under Title 42 U.S.C. §408.

Additionally, your affiant also knows. that it is a violation of Title 18 U.S.C. §1028(a)(7) to
knowingly possess or use without lawful authority a means of identification of another, namely,
the social security number.of another individual, with the intent to commit, or to aid and abet, or
in connection. with, any unlawful activity that constitutes a violation of Federal law, or that
constitutes a felony under any applicable State or local law.

Lastly, your affiant also knows that it is a violation of Title 31 U.S.C. §5324(b)(2) that: No
person shall, for the purpose of evading the report requirements of section 5331 or any regulation
prescribed under such section to cause or attempt to cause a nonfinancial trade or business to file
a report required under section 5331 or ary. regulation prescribed under such section that
contains a material omission or misstatement of fact.
